Case 2:05-CV-02213-SHI\/|-STA Document 46 Filed 07/14/05 Page 1 of 3 Page|D 42

 

IN THE UNITED STATES DISTRICT cOURT BY"'“ °'¢-
FoR THE wESTERN DISTRICT 0F TENNESSEE
wEsTERN DIvISIoN 05 JUL "* PH w 5b
cHERYL AUTIN, ET AL., CLEMUSFSWC CU.H[
C;' ;A*J’ _F.-£'E}Y{.§S
Plaintiffs,
v. No. 05-2213-MaAn

SOLVAY PHARMACEUTICALS, INC. , ET AL. ,

Defendants.

 

ORDER GRANTING PER.MISSION TO FILE REPLY

 

Before the Court is defendants’ June 28, 2005, unopposed
motion to file a reply in further Support of their motion to

dismiss. For good cause shown, the motion is granted and

defendants may file their reply.

It is so ORDERED this iv ay of July, 2005.

J/M/M//_..»

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

 

Ti.is qo_cum_ent entered on the dockets eet fn compT?ance
with nme se and/or fe(a} FHcP on_l_h_®__

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:05-CV-02213 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Nicole K. Wilson
THOMPSON H[NE LLP
127 Public Square

Ste. 3900 Key Center
Cleveland7 OH 441 14

John S. Wilder

WILDER & SANDERS
108 E. Court Square
Somerville, TN 38068--143

Frank B. Thacher

BURCH PORTER & JOHNSON PLLC
130 N. Court Ave.

1\/1emphis7 TN 38103

Reid SteWart

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 75219

DeWitt 1\/1. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Eric N. Roberson

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 75219

J ames S. Robenalt
THOMPSON H[NE LLP
127 Public Square

Ste. 3900 Key Center
Cleveland7 OH 441 14

Case 2:05-cV-02213-SHI\/|-STA Document 46 Filed 07/14/05 Page 3 of 3

Patrick J. Mulligan

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 75219

Michael E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Andrew S. Johnston

1\/[[NOR & JOHNSTON7 P.C.
124 East Market Place
Somerville, TN 38068

Michael L. Hardy

THOMPSON H[NE & FLORY LLP
127 Public Square

Cleveland7 OH 441 14

Jason H. FOX

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turtle Creek Blvd.

Ste. 900

Dallas, TX 36068

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Elizabeth T. Collins

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Honorable Samuel Mays
US DISTRICT COURT

Page|D 44

